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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTER DISTRICT OF TEXAS
                                      MARSHALL

 NetSocket, Inc.,                                   §
                                                    §
                        Plaintiff,                  §
                                                    §
                v.                                  §    Civil Case No. 2:22-cv-00172-JRG
                                                    §
 Cisco Systems, Inc.,                               §    JURY TRIAL DEMANDED
                                                    §
                        Defendant.                  §



                                     NOTICE OF APPEARANCE

       Please take notice that Mark D. Siegmund of the law firm STECKER WAYNE CHERRY & LOVE,

PLLC, is appearing as additional counsel of record for Plaintiff NetSocket, Inc. Mr. Siegmund hereby

requests that all pleadings, correspondence, materials, and electronic notices required to be served in

the above-entitled and numbered cause be copied to and served upon him.



 Dated: August 8, 2022                              /s/ Mark D. Siegmund
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                                                    ATTORNEY FOR PLAINTIFF




NOTICE OF APPEARANCE                                                                   PAGE 1 OF 2
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                                  CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document has been served on all counsel of record
through the Court’s electronic filing system on August 8, 2022.

                                                     /s/ Mark D. Siegmund
                                                     Mark D. Siegmund




NOTICE OF APPEARANCE                                                                  PAGE 2 OF 2
